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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    :       CASE NO. 1:23MJ025
                                             :
               Plaintiff,                    :       MAGISTRATE JUDGE ZIA M. FARUQUI
                                             :
       vs.                                   :
                                             :
KYLE MLYNAREK, et al.,                       :       DEFENDANT’S AMENDED
                                             :       UNOPPOSED MOTION TO
               Defendant.                    :       CONTINUE PRELIMINARY HEARING
                                             :

       Defendant, Kyle Mlynarek, through counsel, respectfully moves this Honorable Court for

a continuance of the preliminary hearing currently scheduled for February 16, 2023 until April

13, 2023 in order to join the status conference / preliminary hearing scheduled for defendant

Ronald Balhorn. The requested continuance will give defense counsel the necessary time receive

and review discovery, confer with Mr. Mlynarek, and prepare for the status conference and

preliminary hearing. The ends of justice served by granting this motion outweigh the best

interests of the public and Mr. Mlynarek in a speedy trial. See 18 U.S.C. §3161(h)(7)(A).

       Defense counsel has discussed this matter Assistant U.S. Attorney Stephen Rancourt. He

stated that the government has no objection to this request.

       For these reasons, Mr. Mlynarek requests that the Court grant this motion.



                                             Respectfully submitted,

                                             STEPHEN C. NEWMAN
                                             Federal Public Defender
                                             Ohio Bar: 0051928
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